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                  EXHIBIT E
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                     Summary of WFOE’s Fund Stolen and Transferred by Shi Wenyong

Number          Date           Time          Amount Transferred          Remarks
                                                (RMB Yuan)
1          May 15, 2019    10:53:46                          9,000,000
2          June 5, 2019    13:47:44                          8,000,000
3          June 6, 2019    13:59:51                       20,000,000
4          June 10, 2019   13:45:12                       20,000,000
5          June 10, 2019   20:08:08                          9,000,000
6          June 11, 2020   14:06:02                       10,000,000
7          June 12, 2019   09:15:55                       20,000,000
8          June 12, 2019   16:43:19                       20,500,000
9          June 13, 2019   09:05:03                       21,500,000
10         June 13, 2019   16:35:13                       22,000,000
11         June 14, 2019   09:48:45                       22,000,000
12         June 14, 2019   16:53:55                       23,000,000
13         June 14, 2019   19:50:14                       23,500,000
14         June 17, 2019   17:01:16                       24,000,000
15         June 18, 2019   09:35:27                       24,500,000
16         June 18, 2019   16:51:53                       35,700,000
17         June 19, 2019   22:35:37                       45,000,000
18         June 20, 2019   20:57:17                       10,000,000
19         June 20, 2019   21:06:04                          8,000,000
20         June 21, 2019   15:54:29                       40,000,000
21         June 21, 2019   17:21:56                       20,500,000
22         June 24, 2019   10:55:48                          7,500,000
23         June 24, 2019   16:02:09                       77,000,000
24         June 24, 2019   17:30:30                       16,000,000
25         June 25, 2019   16:00:19                       69,000,000
26         June 26, 2019   12:03:54                          70174.47
27         June 26, 2019   19:25:19                      13827437.90
28         July 10, 2019   16:52:14                          7,000,000
29         Nov 05, 2019    15:00:06                            49,000


Total                                             RMB 626,646,612.37
                                                              Company Account Historical
                                                   Case 1:18-cv-11642-VM-VF   Document   Transaction Statement
                                                                                           239-6 Filed         (20190515-20200621)
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Bank Branch: China Merchants Bank Beijing Gongti Branch
                                                                               Account Number:                                                    Account Name: NQ Mobile
                                                                                                                                                               (Beijing) Co., Ltd
No.     Account Type   Transaction Date Currency   Amount      Balance
                                                                             Transaction Number   Serial Number   Transaction Type      Summary




                                                                                                                                     Chop of over the counter business,
                                                                                                                                     China Merchants Bank Beijing Gongti Branch
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                                                                                                                                  Amount stolen and transferred by
Current Settlement account   Renminbi                                                                                    1        Shi Wenyong
                                                                                            Transfer to another company account




                                                                                                                                  Amount stolen and transferred by
                                                                                                                             2    Shi Wenyong




                                                                                                                                   Amount stolen and transferred by
                                                                                                                           3       Shi Wenyong
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                                                                               Amount stolen and transferred by
                                                                          4    Shi Wenyong




                                                                               Amount stolen and transferred by
                                                                      5        Shi Wenyong


                                                                       6       Amount stolen and transferred by
                                                                               Shi Wenyong


                                                                      7        Amount stolen and transferred by
                                                                               Shi Wenyong


                                                                      8        Amount stolen and transferred by
                                                                               Shi Wenyong

                                                                      9        Amount stolen and transferred by
                                                                               Shi Wenyong


                                                                              Amount stolen and transferred by
                                                                      10
                                                                              Shi Wenyong
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                                                                        11 Amount stolen and transferred by
                                                                              Shi Wenyong

                                                                              Amount stolen and transferred by
                                                                       12     Shi Wenyong


                                                                              Amount stolen and transferred by
                                                                       13
                                                                              Shi Wenyong

                                                                             Amount stolen and transferred by
                                                                       14
                                                                             Shi Wenyong


                                                                       15 Amount stolen and transferred by
                                                                             Shi Wenyong


                                                                       16 Amount stolen and transferred by
                                                                             Shi Wenyong

                                                                       17 Amount stolen and transferred by
                                                                             Shi Wenyong


                                                                       18 Amount stolen and transferred by
                                                                             Shi Wenyong


                                                                      19 Amount stolen and transferred by
                                                                            Shi Wenyong
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                                                                            Amount stolen and transferred by
                                                                       20
                                                                            Shi Wenyong


                                                                      21     Amount stolen and transferred by
                                                                             Shi Wenyong




                                                                      22    Amount stolen and transferred by
                                                                            Shi Wenyong

                                                                       23    Amount stolen and transferred by
                                                                             Shi Wenyong

                                                                      24    Amount stolen and transferred by
                                                                            Shi Wenyong


                                                                             Amount stolen and transferred by
                                                                      25
                                                                             Shi Wenyong



                                                                            Amount stolen and transferred by
                                                                      26    Shi Wenyong
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                                                                             Amount stolen and transferred by
                                                                        27   Shi Wenyong




                                                                             Amount stolen and transferred by
                                                                        28   Shi Wenyong




                                                                             Amount stolen and transferred by
                                                                             Shi Wenyong
                                                                       29
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Sample Translation of the bank issued payment receipt
indicating WFOE's fund was transferred to Beijing NetQin
Mobile Technology Limited



                June
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